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                                      UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________________________
In Re: Daniel J Atkins and Sara A Atkins
               Debtor(s)                                                   Chapter: 13
                                                                           Bankruptcy No: 16−14113−mdc
_____________________________________________________________________________________________
                     ORDER CONFIRMING PLAN UNDER CHAPTER 13
      AND NOW, this 21st day of September 2017 upon consideration of the plan submitted by
the debtor under chapter 13 of title 11 U.S.C. and the standing trustee's report which has been
filed; and it appearing that:


     A. a meeting of creditors upon notice pursuant to 11 U.S.C. 341 (a) and a confirmation
hearing upon notice having been held;
      B. the plan complies with the provisions of 11 U.S.C. 1322 and 1325 and with other
applicable provisions of title 11 U.S.C.;
     C. any fee, charge or amount required under chapter 13 of title 28 or by the plan, to be paid
before confirmation, has been paid;
WHEREFORE, it is ORDERED that the plan is CONFIRMED.
                                                                  Magdeline D. Coleman
                                                                  Judge ,
                                                                  United States Bankruptcy Court
                                                                                                               52 − 29
                                                                                                             Form 155
